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12

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14
                                UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16                                 SAN FRANCISCO DIVISION
17   LAURA LOOMER, as an individual and in her           Case No. 3:22-cv-02646-LB
18   capacity as a Candidate for United States
     Congress, and LAURA LOOMER FOR                      [PROPOSED] ORDER CONTINUING
19   CONGRESS, INC.,                                     INITIAL CASE MANAGEMENT
                                                         CONFERENCE AND DUE DATE FOR
20                         Plaintiffs,                   CASE MANAGEMENT STATEMENT
21          v.
                                                         Hon. Laurel Beeler
22   META PLATFORMS, INC., MARK
     ZUCKERBERG, in his capacity as CEO of Meta
23   Platforms, Inc. and as an individual, TWITTER,
     INC., and JACK DORSEY, in his capacity as
24   former CEO of Twitter, Inc. and as an individual,
     THE PROCTOR & GAMBLE CO., and DOES 1-
25   100, individuals,
26                         Defendants.
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      CASE NO. 3:22-CV-02646-LB                                     [PROPOSED] ORDER CONTINUING
                                                                   CASE MANAGEMENT CONFERENCE
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1                                      [PROPOSED] ORDER

2    PURSUANT TO STIPULATION, IT IS SO ORDERED that:
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            The Initial Case Management Conference is moved to July 6, 2023, and the deadline for
4
     filing the Case Management Statement is moved to June 29, 2023.
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7    Date: __________________________                 ___________________________________

8                                                     The Honorable Laurel Beeler
                                                      United States Magistrate Judge
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      CASE NO.   3:22-CV-02646-LB            1                     [PROPOSED] ORDER CONTINUING
                                                                  CASE MANAGEMENT CONFERENCE
      Case 3:22-cv-02646-LB Document 132 Filed 05/26/23 Page 3 of 3




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     CASE NO.   3:22-CV-02646-LB                         [PROPOSED] ORDER CONTINUING
                                                        CASE MANAGEMENT CONFERENCE
